      8:16-cb-00006-SMB Doc # 26 Filed: 04/24/24 Page 1 of 1 - Page ID # 73




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                      Plaintiff,
                                                               Case No.: 8:16CB6
                                                           Violation No.: 433496-NE22
       vs.
                                                               DISMISSAL ORDER
WAYNE P. WAKEHOUSE,

                      Defendant.

       NOW ON THIS 24th day of April 2024, this matter is before the Court on the United

States’ Motion for Dismissal (Filing No. 25). The Court, being duly advised in the premises,

finds that said Motion should be sustained.

       IT IS HEREBY ORDERED:

       Leave of Court is granted for the United States to dismiss, without prejudice, the

violation in the above-captioned case as it to the Defendant, WAYNE P. WAKEHOUSE.


       Dated this 24th day of April, 2024.

                                                    BY THE COURT:

                                                    s/ Michael D. Nelson
                                                    United States Magistrate Judge
